             Case 2:18-cr-00422-DJH Document 415 Filed 12/12/18 Page 1 of 10




 1
     Paul J. Cambria, Jr. (NY 15873, admitted pro hac vice)
 2   LIPSITZ GREEN SCIME CAMBRIA LLP
     42 Delaware Avenue, Suite 120
 3   Buffalo, New York 14202
 4   Telephone: (716) 849-1333
     Facsimile: (716) 855-1580
 5   pcambria@lglaw.com
 6
     Erin E. McCampbell (NY 4480166, admitted pro hac vice)
 7   LIPSITZ GREEN SCIME CAMBRIA LLP
     42 Delaware Avenue, Suite 120
 8   Buffalo, New York 14202
 9   Telephone: (716) 849-1333
     Facsimile: (716) 855-1580
10   emccampbell@lglaw.com
11
     Attorneys for Defendant Michael Lacey
12
                              IN THE UNITED STATES DISTRICT COURT
13                                FOR THE DISTRICT OF ARIZONA
14
     United States of America,                        NO. CR-18-00422-PHX-SPL (BSB)
15

16                       Plaintiff,                   DEFENDANT LACEY’S
     vs.                                              MOTION TO STRIKE THE
17                                                    GOVERNMENT’S UNTIMELY
     Michael Lacey, et al.,                           OPPOSITION TO HIS MOTION FOR
18
                                                      RELEASE OF FUNDS UNRELATED TO
19                     Defendants.                    BACKPAGE AND REQUEST FOR
                                                      EXPEDITED RELIEF
20

21                                                    (Oral argument requested)

22
            Defendant Michael Lacey, by and through his undersigned attorney, hereby moves for
23
     an order striking the government’s untimely opposition (Doc. 412) to Mr. Lacey’s Motion for
24
     Release of Funds Unrelated to Backpage and Request for Expedited Relief (Doc. 385). The
25
     government’s opposition was untimely under LRCiv 7.2(c) and the government has provided
26
     no excusable basis for its failure to file a timely opposition or for seeking an extension of its
27

28
             Case 2:18-cr-00422-DJH Document 415 Filed 12/12/18 Page 2 of 10




 1   deadline. Based on the legal reasoning and authority set forth in the attached Memorandum of
 2   Points and Authorities, Mr. Lacey respectfully requests that this Court strike the government’s
 3   opposition and grant the Motion for Release of Funds as unopposed.
 4          It is expected that excludable delay under 18 U.S.C. § 3161(h)(1)(D) will occur as
 5   a result of this motion or an order based thereon.
 6
            RESPECTFULLY SUBMITTED this 12th day of December 2018,
 7

 8                                       /s/    Paul J. Cambria, Jr.
 9                                              LIPSITZ GREEN SCIME CAMBRIA LLP
                                                Attorneys for Defendant Michael Lacey
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28                                                 2
             Case 2:18-cr-00422-DJH Document 415 Filed 12/12/18 Page 3 of 10




 1                     MEMORANDUM OF POINTS AND AUTHORITIES
 2          As this Court his aware, the defendants have brought challenges in this Court and
 3   elsewhere to the government’s pretrial seizure of their assets. On November 8, 2016, defendants
 4   Andrew Padilla and Joye Vaught filed an Emergency Motion to Stay Seizure of Attorneys’ Fees
 5   and Immediate Hearing seeking an order from this Court staying execution of seizure warrants
 6   directed at funds held in their attorneys’ IOLTA accounts for their defense. (Doc. 360.) On
 7   November 9, 2018, defendants James Larkin, Michael Lacey, John Brunst, and Scott Spear filed
 8   an emergency motion seeking stay of execution of seizure warrants directed at funds held in their
 9   attorneys’ IOLTA accounts for the same reasons articulated in the motion filed by defendants
10   Padilla and Vaught. (Doc. 365.) Additionally, Mr. Larkin filed a Supplemental Brief in Support
11   of Defendants’ Emergency Motion to Stay. (Doc. 377.) In the Supplemental Brief, Mr. Larkin
12   asserted that, in a recent communication with the government, the government claimed that two
13   bank accounts that Mr. Larkin had understood to contain funds unrelated to Backpage had been
14   traced to Backpage, and that use of those funds would constitute criminal conduct. (See id.) Mr.
15   Larkin indicated that the government was unwilling to reveal its basis for claiming that the funds
16   were traceable to Backpage and requested an immediate evidentiary hearing. (See id.)
17          On November 16, 2018, Mr. Lacey filed his Motion for Release of Funds Unrelated to
18   Backpage and Request for Expedited Relief (“Motion). (Doc. 385.) In the Motion, Mr. Lacey
19   requested that this Court issue an order directing the government to release funds held in three
20   bank accounts (Republic Bank accounts ending in 2485, 1897, and 3126) because the
21   government sought pretrial restraint of those funds on the basis that Mr. Lacey had comingled
22   funds related to Backpage with funds unrelated to Backpage thereby rendering all of the funds
23   held in those accounts subject to pretrial restraint under the government’s theory of the case
24   against Backpage. (See id.) Mr. Lacey demonstrated to this Court, as he had to the government
25   many months earlier, that he had no knowledge of or involvement with the single deposit of
26   funds related to Backpage into those three accounts, which did not otherwise contain funds
27   related to Backpage. Because the government refused to review Mr. Lacey’s bank records or
28                                                   3
             Case 2:18-cr-00422-DJH Document 415 Filed 12/12/18 Page 4 of 10




 1   interview the administrative personnel involved with the purportedly improper transaction, Mr.
 2   Lacey came to this Court to seek the equitable release of the funds that were unrelated to
 3   Backpage for use for his defense as a matter of fundamental fairness.
 4          On November 16, 2018, this Court held a hearing on the motions that had been briefed
 5   by the time of the hearing—the motions filed at Docket Numbers 360, 365, 376, and 377. (See
 6   11/16/18 Transcript, a true and correct copy of which is attached hereto as Ex. A.) During the
 7   hearing, there was no discussion or mention of Mr. Lacey’s Motion. (See id.) At the conclusion
 8   of the hearing, this Court announced an oral decision and order on the motions that had been
 9   argued (“Order”). (See id. at 55-60.) The Court stated that the Order related to the motions filed
10   at Docket Numbers 360, 365, 376, and 377 and that those motions were denied because there
11   were no “persuasive reasons as to why the Court should interfere with the Central District of
12   California’s issuance of the seizure warrants.” (Id. at 57.).
13          The Order did not mention or rule on Mr. Lacey’s Motion. (See id.)
14          With Mr. Lacey’s Motion still active and pending after issuance of the Order, the
15   government’s opposition was due on November 30, 2018. However, that date passed and the
16   government did not file an opposition or a request an extension of its deadline. On December 3,
17   2018, Mr. Lacey filed a Notice of the Government’s Non-Opposition to his Motion. (Doc. 403.)
18   More than one week later, on December 11, 2018, the government filed its Response in
19   Opposition to the Motion (“Opposition”). (Doc. 412.) The Opposition does not provide any
20   excuse for why the government was unable to file an opposition or a request for an extension by
21   November 30, 2018. (See id.)
22                                            ARGUMENT
23
     I.     This Court should strike the Opposition as untimely and grant the Motion because
24          there was no timely opposition filed.
25          This Court should strike the Opposition as untimely and grant the Motion as unopposed.
26   Under the Local Rules, a party opposing a motion must file its responsive memorandum no later
27

28                                                    4
             Case 2:18-cr-00422-DJH Document 415 Filed 12/12/18 Page 5 of 10




 1   than fourteen days after service of the motion. See LRCiv 7.2(c). However, when “counsel does
 2   not serve and file the required answering memoranda . . . such non-compliance may be deemed
 3   a consent to the . . . granting of the motion.” LR Civ 7.2(i). When a party fails to timely file an
 4   opposition and offers no excusable basis for its untimely filing, courts have the authority strike
 5   the untimely pleading. See United States v. Picou, 2015 WL 6163423, at *2-3 (E.D. Cal. Oct.
 6   19, 2015) (granting defendant’s motion to strike the government’s untimely oppositions because
 7   the government did not offer a “plausible” excuse for filing out of time or for failing to request
 8   an extension of its deadline). This Court has consistently applied the Local Rules which is in
 9   line with the application of similar rules by other courts. See United States v. Warren, 601 F.2d
10   417, 473-74 (9th Cir. 1979) (affirming district court’s decision to grant unopposed motion to
11   dismiss the indictment); United States v. Farias, 2009 WL 2485730, at *1 (N.D. Cal. Aug. 11,
12   2009) (granting defendant’s unopposed motion for return of property because “[t]he government
13   has not endeavored to meet its burden, and the Court is aware of no legitimate reason to withhold
14   the property at issue in Defendant’s motion”); see also United States v. Nunez, 223 F.3d 956,
15   958 (9th Cir. 2000) (“As a general matter, the government may waive certain defenses by
16   not raising them in a timely manner.”);
17          Here, Mr. Lacey filed and served the Motion on November 16, 2018. (Doc. 385.) The
18   Opposition should have been filed and served no later than November 30, 2018. See LRCiv
19   7.2(c). However, that date passed and no opposition was filed. Further, the government did not
20   contact defense counsel to request consent for an extension of the deadline or file any such
21   request with this Court. As a result, on December 3, 2018, Mr. Lacey filed a Notice of
22   Government’s Non-Opposition to the Motion. (Doc. 403.) More than a week passed before the
23   government filed its Opposition. (Doc. 412.) Critically, the Opposition does not include an
24   explanation for why it was filed eleven days late. (Id.) The Opposition should be struck.
25          Although the government admits no fault on its part, it appears that the government did
26   not file an opposition because the government assumed that the Motion would be denied for the
27   same reasons that this Court denied other motions in the Order, and that this Court would reach
28                                                   5
             Case 2:18-cr-00422-DJH Document 415 Filed 12/12/18 Page 6 of 10




 1   that determination sua sponte without any submission from the government requesting such an
 2   outcome. (See id. at 3-5.) Aside from the obvious risks associated with a litigation approach
 3   that proceeds on the assumption that a court will rule in the party’s favor sua sponte, something
 4   the government has not risked with respect to any other motion filed by the defendants, the
 5   government’s claim does not withstand scrutiny of any kind. It is clear from the transcript of
 6   this Court’s November 16, 2018 hearing that the Order did not resolve, let alone mention, the
 7   Motion. (See Ex. A.)
 8          Mr. Lacey has suffered and continues to suffer each day that he is deprived of access to
 9   his assets that are unrelated to Backpage. His bills continue to mount and he is unable to meet
10   his financial obligations, including funding his defense to the instant action. The government’s
11   untimely response to the Motion, which requested expedited relief on the basis of Mr. Lacey’s
12   unsustainable financial situation, has further compounded that harm by delaying the hearing of
13   the Motion. For all these reasons, Mr. Lacey respectfully requests that this Court strike the
14   Government’s Opposition as untimely and grant the Motion as unopposed.
15
     II.    This Court should grant the Motion on its merits as a matter of this Court’s
16          equitable jurisdiction and inherent authority.
17          To the extent that this Court is not inclined to strike the Opposition and grant the Motion
18   as unopposed, Mr. Lacey nonetheless should prevail on the Motion. Under the Local Rules, Mr.
19   Lacey’s reply brief would be due on December 18, 2018, which he will file if the instant motion
20   is denied. In such a reply, Mr. Lacey would more fully assert several bases for granting his
21   Motion, including the following:
22          First, contrary to the government’s main argument, the doctrine of the law of the case is
23   no barrier to this Court granting the Motion. In contrast with the motions resolved by the Order,
24   Mr. Lacey’s Motion does not ask this Court to invalidate a seizure warrant issued by another
25   Court. (See Doc. 385.) Instead, the Motion asks this Court to exercise its equitable jurisdiction
26   and inherent authority to order the government to separate funds unrelated to Backpage from
27

28                                                   6
             Case 2:18-cr-00422-DJH Document 415 Filed 12/12/18 Page 7 of 10




 1   funds related to Backpage to enable Mr. Lacey to fund his defense. Consequently, the Motion
 2   does not challenge the issuance of the seizure warrant directed at Republic Bank accounts ending
 3   in 2485, 1897, and 3126. Quite differently, the Motion seeks to hold the government
 4   accountable for its conduct after obtaining the seizure warrant which included, among other
 5   things: (1) delaying disclosure of the seizure warrant for as long as possible to make it
 6   impossible for defense counsel to analyze the validity of the seizure of those accounts; and (2)
 7   after disclosing the seizure warrant, refusing to review and/or investigate the validity of the
 8   ongoing restraint of those accounts in light of the bank records that defense counsel procured
 9   demonstrating the government’s flawed theory on comingling and offering to provide the
10   opportunity to interview the administrative assistant who incorrectly and accidentally transferred
11   Backpage related funds into those accounts without Mr. Lacey’s knowledge or permission. (See
12   id.) Because this Motion presents this Court with a very different issue from that presented by
13   the other motions, the Order is no barrier to this Court’s resolution and granting of the Motion.
14          Second, even if this Court determines that the Motion would have been denied on the
15   same bases as the motions resolved by the Order, had the Motion been fully briefed and argued
16   before the Court by the time the Court announced the Order, there is good cause for declining to
17   apply the holding in the Order to this Motion under the doctrine of the law of the case because
18   since issuance of the Order, the government has attempted to stop the very litigation it told this
19   Court the defendants could pursue and that pursuit of that litigation justified denial of the motions
20   before this Court. At the November 16, 2018 hearing, the government told this Court that any
21   challenge to the pretrial restraint of defendants’ assets other than a Monsanto hearing, including
22   a challenge brought under Franks v. Delaware, 438 U.S. 154 (1978), should be brought in the
23   Central District of California.1 (See Ex. A at 7.) Days later, defendants pursued their challenge
24
     1
             Defendants found this statement to be surprising in light of the history of the parties’
25   litigation of the government’s pretrial restraint of defendants’ assets in the Central District
26   of California. On August 1, 2018, Defendants filed a Motion to Vacate or Modify Seizure
     Warrants, which challenged the seizure warrants on a variety of grounds, including
27   violations of Franks under the docket 18-CV-06742. The government responded by telling
28                                                    7
             Case 2:18-cr-00422-DJH Document 415 Filed 12/12/18 Page 8 of 10




 1   to the seizure warrants that the government obtained to seize the attorney IOLTA accounts at
 2   issue in this Court’s Order in the Central District of California by filing an Application and
 3   Motion to (1) Stay Execution of Seizure Warrants; and (2) Provide Notice to the Court of First
 4   Amendment and Franks Violations under the eight sealed dockets pertaining to those seizure
 5   warrants (18-MJ-02872, 18-MJ-02873, 18-MJ-02874, 18-MJ-02875, 18-MJ-02876, 18-MJ-
 6   02878, 18-MJ-02880, and 18-MJ-02883). Defendants did exactly what the government told this
 7   Court they should do. Unsurprisingly, the government’s opposition to the Application and
 8   Motion evades review of its conduct by asking the court to deny the motion as moot because the
 9   seizure warrants had expired by the time the Application and Motion was filed (even though the
10   government was silent as to whether it would refrain from seeking new seizure warrants for the
11   same accounts which would eviscerate their mootness argument).
12          The government’s secretive and heavy-handed approach to pretrial restraint of the
13   defendants’ assets is unparalleled and should not continue to evade judicial review. This Motion,
14   which challenges the government’s pretrial restraint of Mr. Lacey’s assets on bases different
15   from those addressed in the motions resolved in this Court’s Order, gives this Court the
16   opportunity to revisit the government’s claim that defendants would be able to seek review of
17   the seizures in the Central District of California, which, to date, is nothing more than an empty
18   promise, conveniently asserted to evade this Court’s review of the government’s conduct.
19                                          CONCLUSION
20          In light of the foregoing, Mr. Lacey respectfully requests an order striking the
21   Opposition as untimely and granting the Motion as unopposed. To the extent that this Court
22

23

24   the Central District of California that the defendants’ challenges should not be heard in that
     District, but instead should be heard in the District of Arizona. Shortly thereafter, the
25   government sought a stay of all litigation in the Central District of California, which was
26   granted and which is on appeal to the Ninth Circuit. There is nothing about the way the
     government litigated the pretrial restraint of defendants’ assets in that case that suggests
27   that the government is receptive to judicial review of the merits of its actions.
28                                                  8
             Case 2:18-cr-00422-DJH Document 415 Filed 12/12/18 Page 9 of 10




 1   is not inclined to strike the Opposition, Mr. Lacey intends to submit a reply brief to more fully
 2   develop the arguments set forth herein because his Motion should be entertained and granted.
 3
            RESPECTFULLY SUBMITTED this 12th day of December, 2018,
 4

 5                                        /s/    Paul J. Cambria, Jr.
 6                                               LIPSITZ GREEN SCIME CAMBRIA LLP
                                                 Attorneys for Defendant Michael Lacey
 7

 8
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28                                                  9
             Case 2:18-cr-00422-DJH Document 415 Filed 12/12/18 Page 10 of 10




 1
     On December 12, 2018, a PDF version
 2   of this document was filed with
 3   Clerk of the Court using the CM/ECF
     System for filing and for Transmittal
 4
     Of a Notice of Electronic Filing to the
 5   Following CM/ECF registrants:
 6
     Kevin Rapp, kevin.rapp@usdoj.gov
 7   Reginald Jones, reginald.jones4@usdoj.gov
 8   Peter Kozinets, peter.kozinets@usdoj.gov
     John Kucera, john.kucera@usdoj.gov
 9
     Margaret Perlmeter, margaret.perlmeter@usdoj.gov
10   Patrick Reid, Patrick.Reid@usdoj.gov
     Andrew Stone, andrew.stone@usdoj.gov
11
     Amanda Wick, Amanda.Wick@usdoj.gov
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28                                             10
